                  Case 22-11068-JTD            Doc 3067          Filed 10/10/23       Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                             )   Chapter 11
    In re:                                                   )
                                                             )   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al.,1                               )
                                                             )   (Lead Case)
                                     Debtors.                )
                                                             )   (Jointly Administered)
                                                             )

       NOTICE OF EMERGENT DEBTOR’S MOTION FOR ENTRY OF AN ORDER
     APPROVING POSTPETITION FINANCING AND GRANTING RELATED RELIEF

             PLEASE TAKE NOTICE that on October 6, 2023, Emergent Fidelity Technologies Ltd,

as debtor and debtor-in-possession, filed the Emergent Debtor’s Motion for Entry of an Order

Approving Postpetition Financing and Granting Related Relief (the “DIP Motion”) [D.I. 3024],

and the motion to expedite a hearing and shortening the notice period with respect to the DIP

Motion (the “Motion to Shorten”) [D.I. 3025], in the United States Bankruptcy Court for the

District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that on October 10, 2023, the Court granted the

Motion to Shorten, setting a hearing on the DIP Motion for October 19, 2023, at 10:00 a.m.,

prevailing Eastern Time (the “Hearing”), before the Honorable John T. Dorsey, United States

Bankruptcy Judge for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom

No. 5, Wilmington, Delaware 19801 (the “Order”) [D.I. 3037].




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  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
              Case 22-11068-JTD        Doc 3067       Filed 10/10/23    Page 2 of 3




       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, any responses to the

relief requested in the DIP Motion may be made orally at the Hearing, and any written responses

and objections may be filed electronically with the Court on the docket of the above-referenced

chapter 11 case, by registered users of the Court’s electronic filing system and in accordance with

the applicable General Orders (available on the Court’s website at http://www.deb.uscourts.gov),

at any time prior to the Hearing.

Dated: October 10, 2023                             MORGAN, LEWIS & BOCKIUS LLP
Wilmington, DE
                                                    /s/ Jody C. Barillare
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                                                             - and -

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                                                             - and -

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                                                    Counsel for Emergent Fidelity
                                                    Technologies Ltd as Debtor and Debtor-in-
                                                    Possession

                                                2
             Case 22-11068-JTD         Doc 3067      Filed 10/10/23     Page 3 of 3




                                CERTIFICATE OF SERVICE

        I, Jody C. Barillare, hereby certify that on October 10, 2023, I caused to be served copies
of the foregoing document to all parties consenting to service through the Court’s CM/ECF system.

Dated: October 10, 2023                              MORGAN, LEWIS & BOCKIUS LLP
Wilmington, DE
                                                     /s/ Jody C. Barillare
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